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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                              Case No. 2:13-cr-00355-GMN-CWH
                                                            Appeal Case No. 17-10300
 8                                   Plaintiff-Appellee,
                                                                 ORDER APPOINTING COUNSEL
 9           v.
10   GREGORY VILLEGAS,
11                               Defendant-Appellant.
12          Pursuant to the order filed on August 31, 2017, by the Ninth Circuit Court of Appeals
13   directing the appointment of counsel for appellant, IT IS HEREBY ORDERED that the Federal
14   Public Defender’s Office for the district of Nevada is appointed to represent Gregory Villegas for
15   this appeal. The Federal Public Defender’s address is: 411 E. Bonneville, Suite 250, Las Vegas,
16   NV 89101 and their phone number is 702-388-6577.
17          Former counsel, Gabriel L Grasso’s office, is ordered to forward the file to the Federal
18   Public Defender’s Office forthwith.
19          The clerk is directed to forward a copy of this order to the Clerk of the 9th Circuit Court of
20   Appeals at counselappointment@ca9.uscourts.gov.
21          DATED this 1st day of September, 2017.
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24                                                 GLORIA M. NAVARRO, U.S. DISTRICT JUDGE
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